                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                                   Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                          Case No. 24-12480 (JTD)

                                         Debtors.                            (Jointly Administered)


                                                                  Hearing Date: February 13, 2025 at 10:00 a.m. (ET)
                                                                Objection Deadline: January 13, 2025 at 4:00 p.m. (ET)

    NOTICE OF HEARING ON APPLICATION OF THE OFFICIAL COMMITTEE OF
     UNSECURED CREDITORS FOR ENTRY OF AN ORDER AUTHORIZING THE
    RETENTION AND EMPLOYMENT OF PERELLA WEINBERG PARTNERS LP AS
     INVESTMENT BANKER TO THE OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS, EFFECTIVE AS OF NOVEMBER 26, 2024


             PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) hereby files the

foregoing Application of the Official Committee of Unsecured Creditors for Entry of an Order

Authorizing the Retention and Employment of Perella Weinberg Partners LP as Investment Banker




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   The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers, to the
extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM Interco Holdings, Inc.
(2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661),
Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group
Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486),
Franchise Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC
(8271), American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S,
LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet,
LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968), Franchise Group
Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260);
Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021),
Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470),
Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet
Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution,
LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.



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to the Official Committee of Unsecured Creditors Effective as of November 26, 2024 (the

“Application”).

          PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an

order with respect to the relief sought in the Application must be filed with this Court on or before

January 13, 2025 at 4:00 p.m. (prevailing Eastern Time). At the same time, the response or

objection must be served on the below proposed counsel for the Committee.

          PLEASE TAKE FURTHER NOTICE that if you fail to respond in accordance with this

notice, the court may grant the relief requested in the Application without further notice or hearing.

          PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief sought in

the Application has been scheduled for February 13, 2025 at 10:00 a.m. (prevailing Eastern

Time) before the Honorable John T. Dorsey, Chief United States Bankruptcy Judge, at the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 5th

Floor, Courtroom No. 5, Wilmington, Delaware 19801.

          PLEASE TAKE FURTHER NOTICE that if no objections are filed to the Application,

the proposed order attached to the Application may be entered without further notice or hearing.




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 Dated:       December 27, 2024   Respectfully submitted,

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                                  Colin R. Robinson (DE Bar No. 5524)
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                                  Proposed Counsel to the Official Committee
                                  of Unsecured Creditors




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